                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

UNITED STATES OF AMERICA        )
                                )   No.   3:09-cr-00240-2
v.                              )         3:09-cr-00240-4
                                )         3:09-cr-00240-11
FAITH READUS; HOWARD COLEMAN;   )         3:09-cr-00240-15
TIERRA YOUNG; ANTONIO LEE;      )         3:09-cr-00240-23
PATRICK SCOTT                   )   Judge Nixon
                              ORDER

       Pending before the Court is Defendant Patrick Scott’s Motion in Limine to Exclude any

Testimony Regarding Gang Affiliation and Associated Aliases or Nicknames (“Motion”). (Doc. No.

1554.) Specifically, Mr. Scott requests that the Court order the Government not to disclose to the jury any

statements about Mr. Scott’s alleged gang affiliation due to the prejudicial effect substantially

outweighing the probative value of such statements. (Id.) Defendants Antonio Lee, Tierra Young,

Howard Coleman, and Faith Readus have joined the Motion. (Doc. Nos. 1576; 1579; 1608; 1609.)

       At a hearing held January 4, 2013, the Government stated that it opposed the Motion because the

evidence Mr. Scott seeks to exclude is highly probative and necessary to prove affiliations between the

Defendants.

       Having considered the Motion and the parties’ arguments, the Court GRANTS the Motion insofar

as the Government shall not make reference to Defendants’ alleged gang affiliation before the jury,

through the completion of opening statements. The Court reserves judgment on the Motion with respect

to whether the Government may disclose Defendants’ alleged gang affiliation following opening

statements.

       It is so ORDERED.

       Entered this the _7th_ day of January, 2013.

                                                      ________________________________
                                                      JOHN T. NIXON, SENIOR JUDGE
                                                      UNITED STATES DISTRICT COURT




     Case 3:09-cr-00240        Document 1619         Filed 01/08/13      Page 1 of 1 PageID #: 6296
